             Case 3:10-bk-03417-JAF      Doc 72   Filed 09/25/19   Page 1 of 2



                                     ORDERED.


        Dated: September 25, 2019




                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

In re

MARK S. CHAMBERS                                        CASE NO. 10-03417-BKC-3F7
VIRGINIA CHAMBERS

                        Debtor(s).


             ORDER APPROVING COMPROMISE OF CONTROVERSY

         This case is before the court on the Trustee's Motion to Approve Compromise of

Controversy and/or Settlement. No objections having been filed after notice to creditors

pursuant to M.D. FLA. L.B.R. 2002-4 on August 26, 2019. It is

         ORDERED:

         1. The Trustee's Motion to Approve Compromise of Controversy is granted.

         2. The compromise described in the Trustee's Motion to Compromise of Controversy,

dated August 26, 2019, is approved and the trustee is authorized to execute the necessary

documents to consummate the settlement.
              Case 3:10-bk-03417-JAF        Doc 72    Filed 09/25/19    Page 2 of 2




Page 2/Case No: 10-03417-3F7

         3. The settlement funds of $116,040.58, i.e., $130,000 less the Common Benefit Fund

assessment of $6,500 and less subrogation liens of $7,459.42, shall be paid to Gregory K. Crews,

Trustee, 8584 Arlington Expressway, Jacksonville, FL 32211.

         4. The court shall retain jurisdiction over the interpretation or implementation of this

Order.

Gregory Crews, Trustee, is directed to serve a copy of this order on interested parties who
are non-CM/ECF users and to file a proof of service within 3 days of entry of the order.
